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                           IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



GALE ROBBINS,

              Plaintiff,

   v.                                                 MEMORANDUM DECISION

JEFF MERRELL, a Uintah County Sheriff,                Case No. 2:15-cv-00156-DBP
in his individual and official capacities; JOE
McKEA, in his individual an official                  Magistrate Judge Dustin B. Pead
capacities; DAVID FAIREY, a Uintah
Country Deputy Sheriff, in his individual
and official capacities; UINTAH
COUNTRY and JOHN DOES 1–5;

             Defendants.


                                       INTRODUCTION

   The parties consented to this Court’s jurisdiction under 28 U.S.C. § 636(c). (ECF No. 16.)

Plaintiff Gale Robbins (“Plaintiff”) brings this suit seeking damages under § 1983. Plaintiff

claims he was deprived of federal due process, that he was harmed by Uintah County and

Sherriff Jeff Merrell’s (“Merrell”) failure to train Deputy David Fairey (“Fairey”), and that he

was deprived of his state due process rights. (See ECF No. 2.) The case is presently before the

court on Defendants’ Motion for Summary Judgment. (ECF No. 28.) The motion is fully briefed

and the court heard oral argument on April 25, 2017. (ECF Nos. 29, 36, 39.)

                                    UNDISPUTED FACTS

   The parties’ briefing reveals the following facts are undisputed, unless otherwise noted.

Plaintiff has been employed with the Uintah Country Sheriff’s Department for nineteen years. He

is presently a corporal.
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                                    August 1, 2013, Incident

   On August 1, 2013 an incident took place for which Plaintiff was later disciplined. At the

time, Plaintiff was a sergeant and a supervisor at the Uintah County Courthouse with six years of

experience in that role. On August 1, 2013, Plaintiff was supervising Deputy Tina Menuey,

Deputy Brad Draper, and Defendant Fairey. Plaintiff and Deputy Draper were working together

in a jury trial proceeding on the second floor of the courthouse. Plaintiff assigned Fairey to work

security at the entrance of the courthouse.

   Deputy Menuey was assigned to work as the bailiff for Juvenile Court Judge Larry Steele. At

approximately 2:10 p.m., Judge Steele ordered 16-year-old female S.K. into custody. Deputy

Menuey locked S.K in the holding cell adjacent to Judge Steel’s courtroom. The holding cell is

monitored by video from a security office the deputies use. Deputy Menuey was responsible to

ensure S.K. was taken to a juvenile detention center before court closed that day. Deputy

Menuey did not do so. (See ECF No. 36 at 2–3.) Instead, when Judge Steele finished his last

hearing at 5:30 p.m., Deputy Menuey radioed to Plaintiff asking if she could go home. Plaintiff

did not speak with Deputy Menuey, but “clicked” his radio to indicate Deputy Menuey could go

home. She left at 6:00 p.m. The parties dispute whether Fairey shared responsibility with Deputy

Menuey to transport S.K. (ECF No. 36 at 2–3.)

   Around 6:30 pm., the jury on the second floor returned its verdict. Plaintiff and Deputy

Draper escorted various individuals to their cars, cleaned up the courtroom, and then met Fairey

downstairs by the front door. Plaintiff asked Fairey if everybody was out of the court so the

deputies could go home. Fairey answered the court was clear. Plaintiff then entered the security

office and shut down the monitors that display video feeds from cameras all over the courthouse.

While these monitors are capable of displaying video feed from the holding cell where S.K. was



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held, they were not displaying that particular video feed at the time. Plaintiff did not switch the

monitors to the holding-cell feed as he ordinarily did. Plaintiff did not physically check the

holding cell or instruct anyone else to check it. Plaintiff said to Fairey and Deputy Draper, “Let’s

get the hell out of here.” (ECF No. 28 at 9.) Plaintiff, Fairey, and Deputy Draper locked the

courthouse and left for the day.

   Around 10:40 p.m. a member of the court’s cleaning staff heard pounding and yelling from

the juvenile court holding cell. This individual discovered S.K. who was finally transported to

the juvenile detention center. Shortly thereafter, when Deputy Menuey learned S.K. had been left

in the courthouse, Deputy Menuey notified Plaintiff and confessed that she must have “spaced it

off.” (ECF No. 28 at 10.) Plaintiff expected that he and Deputy Menuey would probably be

disciplined. Plaintiff said they needed to write statements documenting the incident. Deputy

Menuey also notified Jail Commander Irene Brown of the incident with S.K.

   The parties disagree about whether Plaintiff asked Fairey to draft a report the morning after

the incident. (ECF No. 36, Ex. 1.) Fairey claims he wrote a memorandum only on August 10,

2013, but did not show it to Plaintiff. Plaintiff claims he reviewed a report Fairey drafted on

August 2, 2013, that contained misrepresentations about Fairey’s actions. (ECF No. 29, Ex. 1.)

                          Process culminating in Plaintiff’s discipline

   On August 7, 2013, Chief Deputy John Laursen informed Plaintiff via letter that he would be

placed on administrative leave pending an investigation of the S.K. incident. The investigation

proceeded according to County policy. Sergeant Rocky Samuels interviewed Plaintiff on August

9, 2013. Sergeant Samuels submitted a report of his investigation to Commander Brown. The

report indicates that Samuels interviewed the four deputies involved, interviewed the member of

the cleaning staff who found S.K, and reviewed surveillance video from the courthouse.



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   On August 21, 2013, Commander Brown met with Plaintiff to provide him with a Notice of

Pre-Disciplinary Hearing, which she also read to him. The Notice advised Plaintiff of the policies

and procedures he may have violated and instructed him that he could bring evidence and

witnesses to the pre-disciplinary hearing.

   On August 26, 2013, Plaintiff, Deputy Menuey, Deputy Draper, and Fairey attended a joint

pre-discipline hearing conducted by Commander Brown. Commander Brown heard testimony

from all of the deputies. Defendants claim the deputies were “given the opportunity to present

whatever evidence” they desired. (ECF No. 28 at 14.) Plaintiff’s declaration submitted with his

opposition to the summary judgment motion states “no video evidence from the incident at issue

or reports were allowed to be presented at the hearing.” (ECF No. 29, Ex. 1.) The transcript of

the hearing does not suggest Commander Brown denied any request from Plaintiff or any other

officer to submit video evidence or any report. (ECF No. 28, Ex. 6.) Rather, the transcript is

devoid of any request to submit further evidence. See infra Part II.b.2.B.

   Following the hearing, Commander Brown prepared a memorandum recommending

discipline. She recommended Plaintiff be placed on probation for six months, reassigned from

the courts to the jail, and demoted one rank to Corporal, including a pay reduction.

   Chief Deputy Laursen reviewed Commander Brown’s memorandum and listened to the

audio recording of the August 26, 2013, hearing. Chief Deputy Laursen concurred in

Commander Brown’s recommendations and recommended extending the period of probation to

one year. Plaintiff concedes that there is no affirmative evidence that either of these decision

makers was biased against him. On September 3, 2013, Merrell met with Plaintiff and imposed

the discipline recommended by Chief Deputy Laursen. Plaintiff claims Merrell told him later that




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day “that the discipline was in retaliation for [Plaintiff’s] efforts to campaign against [Merrell]

during the election.” (ECF No. 29, Ex. 1.) Defendants dispute this claim. (ECF No. 36, Ex. 2.)

                                      Post-discipline process

   Also on September 3, 2013, Plaintiff submitted a grievance to H.R. Director Joe McKea

(“McKea”) claiming the discipline was excessive and based on “ulterior motive or retaliation.”

(ECF No. 28 at 15.) Plaintiff also requested that McKea disqualify himself from reviewing the

grievance based on McKea’s involvement in the discipline. McKea agreed to step aside. Uintah

Roads Department Head Bryan Meier reviewed Plaintiff’s grievance and conducted a review

hearing with Plaintiff on September 12, 2013. Plaintiff admitted that he was responsible and

deserved discipline for the incident on August 1, 2013. Plaintiff’s declaration again claims that

he “was not allowed to use any evidence other than testimony at the hearing with Bryan Meier.”

(ECF No. 29, Ex. 1.) Plaintiff does not claim he attempted to introduce any evidence and the

transcript of the hearing does not reveal any such request. (See ECF No. 28, Ex. 4.) Bryan Meier

upheld the discipline imposed on Plaintiff via letter dated September 16, 2013. Bryan Meier

specifically stated he did not believe Merrell retaliated against Plaintiff.

   On September 20, 2013, Plaintiff appealed to the Uintah County Commission. After

reviewing the material in the file, the Commission (via letter dated September 24, 2013)

supported the discipline imposed on Plaintiff.

   On September 26, 2013, Plaintiff submitted a grievance appeal to the Uintah County Career

Service Review Board (“CSRB” or “the Board”). The Board met informally with Plaintiff for

over two hours on October 9, 2013, to discuss his grievance. Plaintiff was allowed to present any

information, evidence, and argument he wished, though he claims he lacked access to

unspecified recordings and reports he believes he needed. On November 12, 2013, McKea



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delivered a letter to Plaintiff from the Board that contained its conclusions after meeting with

Plaintiff. The Board notes in its letter that there was no dispute of material fact surrounding the

August 1, 2013, incident. The Board’s letter stated it found no indication the discipline imposed

on Plaintiff was excessive or retaliatory. The Board’s letter indicated Plaintiff could request a

formal hearing if Plaintiff desired, but noted that the material facts were not in dispute and

Plaintiff’s character was not in question. The letter indicated that if Plaintiff desired a formal

hearing before the Board, he must contact McKea no later than 4:00 p.m. on November 27, 2013.

The parties dispute whether Plaintiff asked McKea for a formal hearing at the time McKea

delivered the Board’s letter. In any event, no other hearing was conducted before the Board.

   On January 30, 2014, Plaintiff filed a lawsuit in Utah’s Eighth District Court against Merrell

and McKea. The suit was dismissed without prejudice on Defendants’ motion. On September 8,

2014, Plaintiff filed a notice of claim pursuant to Utah’s Governmental Immunity Act (“UGIA”).

Plaintiff did not file the bond required by UGIA. On March 13, 2015, Plaintiff filed this lawsuit.

                                    STANDARD OF REVIEW

   A “court shall grant summary judgment if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). “There is no genuine issue of material fact unless the evidence, construed in the light most

favorable to the non-moving party, is such that a reasonable jury could return a verdict for the

non-moving party.” Bones v. Honeywell Int'l, Inc., 366 F.3d 869, 875 (10th Cir. 2004) (citing

Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986). “Rule 56(c) mandates the entry of

summary judgment, after adequate time for discovery and upon motion, against a party who fails

to make a showing sufficient to establish the existence of an element essential to that party’s




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case, and on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477

U.S. 317, 322 (1986).

                                            ANALYSIS

    “When a defendant asserts qualified immunity at summary judgment, the burden shifts to the

plaintiff, who must clear two hurdles in order to defeat the defendant’s motion.” Riggins v.

Goodman, 572 F.3d 1101, 1107 (10th Cir. 2009). To pierce qualified immunity, a plaintiff must

demonstrate a defendant violated the plaintiff’s constitutional right and that the right was clearly

established. Gomes v. Wood, 451 F.3d 1122, 1134 (10th Cir. 2006). While the Supreme Court

formerly required trial courts to conduct this inquiry in a particular order, courts may now choose

which prong to address first. Riggins at 1107 (citing Pearson v. Callahan, 555 U.S. 223 (2009)).

Here, the court will first examine whether Plaintiff set forth a clearly-established right.

   I.      Defendants are Entitled to Qualified Immunity

               a. Parties’ arguments

   Defendants argue Plaintiff cannot identify any clearly-established right that Defendants

violated. (ECF No. at 32–33.) Plaintiff argues Merrell violated his clearly-established rights by

disciplining Plaintiff “in retaliation for exercising his First Amendment rights . . . .” (ECF No. 29

at 20–21.) Plaintiff alleges that McKea violated his clearly-established rights by refusing to

provide evidence to Plaintiff and refusing to afford Plaintiff a hearing before the CSRB. Finally,

Plaintiff argues Fairey violated his clearly-established rights by lying in his written report “in an

effort to help Defendants conceal it from [Plaintiff].” (Id. at 21.)

               b. Plaintiff has not identified any clearly-established right

   The clearly-established-right inquiry “must be undertaken in light of the specific context of

the case, not as a broad general proposition.” Price-Cornelison v. Brooks, 524 F.3d 1103, 1108

(10th Cir. 2008). In the Tenth Circuit, “for a right to be clearly established, there must be a
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Supreme Court or Tenth Circuit decision on point, or the clearly established weight of authority

from other courts must have found the law to be as the plaintiff maintains.” Id. “The relevant,

dispositive inquiry in determining whether a right is clearly established is whether it would be

clear to a reasonable officer that his conduct was unlawful in the situation.”

    Plaintiff offers no authority to support his claim that a clearly-established right is implicated

here. Plaintiff cites Rossi v. University of Utah, Civ. No. 2:15-767, 2016 WL 3570620 (D. Utah

June 24, 2016), 1 for the standard applicable to clearly-established law, but he makes no attempt

to define any clearly-established right using cases from the Tenth Circuit or Supreme Court.

Plaintiff’s failure to set forth a clearly-established right is fatal here.

    Plaintiff asserts McKea violated his clearly-established rights by refusing to provide

documents to Plaintiff. Yet, Plaintiff offers no case to establish he had a right to any documents.

(Nor has Plaintiff offered any explanation of the utility of additional documents in a case where

the underlying facts are not in dispute.) See infra Part II.b.2.

    Similarly, Plaintiff has offered no case to suggest McKea’s alleged refusal to allow Plaintiff a

CSRB appeal on the record constitutes a violation of his clearly-established rights. Also, Plaintiff

claims Fairey violated his clearly-established rights by lying in the August 2 report. Again,

Plaintiff has not offered any case to support this argument. As discussed below, Plaintiff does not

show this violates his due process rights, let alone a clearly-established right. Infra Part II.b.2.

    Additionally, Plaintiff cites a case to support his substantive due process claim that involves

a First Amendment violation rather than a due process violation. (See ECF No. 29 at 19) (citing

Adler v. Pataki, 185 F.3d 35, 44–45 (2d Cir. 1999)). There are two problems with Adler. First,

the case is not from the Supreme Court or Tenth Circuit, and it does not appear to evidence a


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      Rossi is easily distinguishable because it was a decision made at the motion-to-dismiss stage
of a lawsuit involving dismissal of a graduate student from her program. See id. at *1.
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majority view held by other circuits. Second, the court cannot apply a First Amendment case to

Plaintiff’s substantive due process claim to forge a clearly-established due process right because

a First Amendment claim is governed by another constitutional provision:

         “[w]here a particular Amendment provides an explicit textual source of
         constitutional protection against a particular sort of government behavior, that
         Amendment, not the more generalized notion of substantive due process, must be
         the guide for analyzing these claims.”

Cty. of Sacramento v. Lewis, 523 U.S. 833, 842 (1998). Plaintiff brings no First Amendment

claim in this case. (See ECF No. 2.) Accordingly, Adler sets forth no clearly-established right

applicable here because it does not set forth the Tenth Circuit, Supreme Court, or majority view.

Further, even if Adler set forth a majority view, the First Amendment right is not relevant to this

due process claims Plaintiff brings in this case.

   Finally, at oral argument, Plaintiff was unable to describe any clearly-established right.

Plaintiff made a number of general propositions the court may agree with, but stopped short of

identifying a single clearly-established right applicable to the instant case. Accordingly,

Plaintiff’s claims fail because he fails to identify any clearly established right.

   II.      Plaintiff Establishes no Violation of His Procedural Due Process Rights

                a. Parties’ arguments

   Defendants argue that Plaintiff’s procedural due process claim fails for three reasons. (ECF

No. 28 at 22–30.) First, Defendants argue Plaintiff failed to exhaust his administrative remedies

because he did not request an evidentiary hearing after he received a November 12, 2013, letter

from the Career Services Review Board (“CSRB”). Second, Defendants argue Plaintiff had no

property interest in his job because he is an at-will employee. Third, Defendants argue that, even

if Plaintiff has a property interest, he was afforded an appropriate level of process.




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   Plaintiff argues he made a written request to the CSRB for a hearing before he received the

November 12 letter and requested a hearing orally from McKea again after receiving the letter.

(ECF No. 29 at 12–13.) Plaintiff argues he has a property interest in his employment created by a

Utah statute. (Id. at 13–15.) Finally, Plaintiff contends the process afforded was insufficient

because he was not provided a full opportunity to present his case. (Id. at 15–17.)

               b. Plaintiff fails to show Defendants were required to afford him additional
                  process related to his discipline.

                   1. There is a factual dispute about whether Plaintiff requested a hearing, or
                      did so properly

   Defendants argue Plaintiff cannot assert a due process claim because he failed to exhaust

state administrative remedies. See, e.g., Pitts v. Bd. of Educ. of U.S.D. 305, Salina, Kansas, 869

F.2d 555, 556–57 (10th Cir. 1989) (holding plaintiff waived his right to challenge administrative

procedures by failing to take advantage of administrative review). The parties agree that Plaintiff

could have requested a full hearing before the CSRB. Defendants claim Plaintiff waived his right

to that hearing because he did not contact McKea by November 27, 2013, to request a hearing.

(ECF No. 28 at 24; ECF No. 36, Ex. 3.) Plaintiff’s declaration submitted with his opposition

memorandum claims he did ask McKea for a hearing on November 12, 2013. (ECF No. 29 at 12

& Ex. 1.) McKea filed a declaration stating Plaintiff never requested a hearing. (ECF No. 36, Ex.

3.) Defendants do not suggest that Plaintiff was required to request a hearing in writing. There is

conflicting testimony about whether Plaintiff asked McKea for a hearing at the time he delivered

the letter. This issue of fact precludes summary judgment on Defendants’ claim that Plaintiff

failed to exhaust his administrative remedies by not requesting a hearing before the CSRB.




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                   2. Plaintiff does not identify any violation of his procedural due process
                      rights

    Plaintiff appears to argue that his post-termination process was inadequate. Plaintiff cites the

rule for determining adequacy of administrative procedures, which requires consideration of

three factors:

        First, the private interest that will be affected by the official action; second, the
        risk of an erroneous deprivation of such interest through the procedures used, and
        the probable value, if any, of additional or substitute procedural safeguards; and
        finally, the Government's interest, including the function involved and the fiscal
        and administrative burdens that the additional or substitute procedural
        requirement would entail.

Benavidez v. City of Albuquerque, 101 F.3d 620, 626 (10th Cir. 1996). Plaintiff argues his right

to employment is substantial and that a formal CSRB hearing would have imposed almost no

burden on Defendants. Defendants do not appear to argue otherwise. Thus, the first and third

factors weigh in Plaintiff’s favor.

        The court turns to the second factor: risk of erroneous deprivation and utility of additional

procedures. Plaintiff argues he was denied procedural due process because the discipline Merrell

imposed was based on an admitted political bias, Plaintiff did not have access to certain

documents, and McKea denied Plaintiff’s request for a hearing before the CSRB.

                               A. McKea’s denial of CSRB hearing and access to documents

    Plaintiff claims his lack of access to evidence deprived him of “an adequate and meaningful

opportunity to build and present his case in his own behalf.” (ECF No. 29 at 17.) The court is not

persuaded by this argument. First, Plaintiff does not identify any utility in the evidence allegedly

withheld. He does not explain what difference any evidence would have made. The underlying

facts that resulted in Plaintiff’s discipline appear undisputed. Second, Plaintiff cites no authority




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to show he was entitled to additional evidence. 2 During oral argument Plaintiff made a blanket

reference to the Constitution to support this argument. In response, the court notes there are a

number of reasons a civil litigant may be denied access to evidence that do not rise to the level of

a constitutional violation. See generally Civil Rule of Procedure 26 (discussing scope and limits

of civil discovery, protective orders, and assertion of privilege). Thus, Plaintiff has not shown the

alleged lack of access to evidence increased the risk of an unfair deprivation of his rights, nor

that the additional evidence would have been useful.

   Similarly, Plaintiff’s argument regarding McKea’s refusal to afford Plaintiff a second CSRB

hearing is unpersuasive because Plaintiff does not explain the utility of this suggested additional

process. The details of August 1, 2013, are not disputed now, nor do the materials submitted on

summary judgment suggest they were disputed at the time of the administrative reviews. The

only possible disagreement about the facts of August 1, 2013, is whether Fairey shared

responsibility with Menuey to ensure S.K. was taken to detention. This dispute is immaterial

because Plaintiff supervises both deputies. At oral argument, Plaintiff was not able to suggest

any difference whether he was disciplined for failing to supervise both deputies rather than one.

Thus, Plaintiff has not established that the denial of a CSRB hearing increased the risk of an

erroneous decision, nor has he established the utility of a second CSRB hearing. While the court

can easily imagine circumstances where refusal to hold a hearing could amount to a procedural

due process violation, those circumstances are simply not present here.

   Finally, Plaintiff claims that Merrell’s admission of bias establishes a procedural due process

violation. Yet, in the context of the law that Plaintiff cites, this argument is not persuasive.

Notwithstanding Merrell’s purported bias, the discipline he imposed was recommended by



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       This underscores Plaintiff’s failure to set forth any clearly-established right.
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Commander Brown and Chief Deputy Laursen. After discipline was imposed, Bryan Meier, the

County Commission, and the CSRB subsequently reviewed the discipline and Plaintiff’s

allegation of Merrell’s bias. There is no evidence whatsoever that these individuals were biased.

Given the review of Plaintiff’s discipline by so many unbiased individuals, Plaintiff is unable to

point to any further process he could reasonably request. Even assuming Merrell was biased,

Plaintiff was afforded several levels of review before and after Merrell imposed discipline. In

sum, Plaintiff has not shown any increased risk of an erroneous deprivation of his rights or that

the CSRB hearing would have had any utility. The second factor weighs against Plaintiff.

Considering all three factors, the court concludes Plaintiff has not shown he was entitled to

additional process. While his interests are substantial and the burden of additional procedures

appears relatively minor, he has not shown the procedure afforded him increased the risk of an

erroneous deprivation of his rights or that the additional procedure he requests would have

utility. Accordingly, the court finds no violation of Plaintiff’s procedural due process rights.

                               B. The court does not infer Commander Brown, Bryan Meier, the
                                  Commission, and the CSRB were biased based on the
                                  purported refusal to allow evidence

   Plaintiff attempted to salvage this claim at oral argument by asking the court to infer that

Commander Brown, Bryan Meier, the Commission, and the CSRB were biased because they

denied him evidence, or the opportunity to submit evidence. First, Plaintiff has not created a

genuine issue of material fact about whether he was not allowed to present evidence. Plaintiff’s

declaration states he was “not allowed” to present evidence during the hearings with Commander

Brown and Bryan Meier. (ECF No. 29, Ex. 1.) The declaration fails to create a genuine dispute

of material fact regarding the alleged refusal to admit evidence because the declaration lacks

foundation, is conclusory and fails to explain or account for unchallenged record evidence. See

Fed. R. Civ. P. 56(c)(4); Mitchael v. Intracorp, Inc., 179 F.3d 847, 855 n.9 (1999) (concurring
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with district court finding an affidavit submitted in opposition to summary judgment

“unpersuasive because much of it is conclusory, vague, and/or lacking in foundation.”).

Plaintiff’s declaration is unpersuasive because it fails to account for undisputed record evidence,

including transcripts of the hearings at issue. The notice of hearing before Commander Brown

(which Plaintiff signed on August 21, 2013) states he “may bring any evidence and/or witnesses

which [he] may feel has pertinence or bearing on the allegations against [Plaintiff].” (ECF No.

28, Ex. 8 at 4.) The transcript of the hearing before Commander Brown is devoid of any request

from Plaintiff, or the other deputies, to submit any evidence during the hearing. (See ECF No.

28, Ex. 6.) It is also devoid of any statement from Commander Brown that could be construed as

refusing to accept evidence. Similarly, the transcript of the hearing before Bryan Meier reveals

no request to submit evidence, let alone any disallowance by Bryan Meier to review evidence.

(ECF No. 28, Ex. 4.) Plaintiff does not allege that he was disallowed from presenting evidence to

the CSRB. Instead, he complains that he was denied access to evidence. Yet Plaintiff has shown

no entitlement to that evidence, as discussed above. See supra Part II.b.2.A.

   Second, even taking all of Plaintiff’s statements as true, Plaintiff asks not for an inference,

but speculation, which is insufficient to defeat a motion for summary judgment. Bones v.

Honeywell Int'l, Inc., 366 F.3d 869, 875 (10th Cir. 2004) (“To defeat a motion for summary

judgment, evidence, including testimony, must be based on more than mere speculation,

conjecture, or surmise.”). When asked, Plaintiff’s counsel was unable to offer any evidence in

the record to suggest these individuals were biased. Instead, counsel asked the court to “infer”

that Merrell orchestrated a conspiracy involving each of these individuals and entities on the

basis of the refusal to submit evidence at hearing, or provide evidence to Plaintiff. The court

cannot reasonably make such an inference based only on a refusal to admit evidence. Instead,



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even if credited, any refusal to admit evidence can easily be explained by undisputed nature of

events of August 1, 2013. No evidence is needed in such a circumstance. Indeed, even under

Plaintiff’s version of events, the decision makers here accepted Plaintiff’s testimony as evidence.

Presumably, any bias in Plaintiff’s own testimony cuts in his favor. Thus, in the absence of

corroborative evidence, the court finds it cannot speculate as to improper motives of Commander

Brown, Chief Deputy Laursen, Bryan Meier, the Commission, or the CSRB. Plaintiff seeks not

an inferential step, but a hop, skip, leap, and a jump, which the court is unable to oblige.

                   3. Plaintiff is not an at-will employee

   “[W]hen a person’s employment can be terminated only for specified reasons, his or her

expectation of continued employment is sufficient to invoke the protections of the Fourteenth

Amendment.” Copelin-Brown v. New Mexico State Pers. Office, 399 F.3d 1248, 1254 (10th Cir.

2005). The Copelin-Brown court found this requirement satisfied by a state statute providing that

an employee could only be terminated for cause. Id. Here, the court finds the test is satisfied

because Utah law provides that a Sheriff’s Deputy may only be demoted, suspended, discharged,

or have his pay reduced, for five reasons provided by statute. See Utah Code Ann. §§ 17-30-

18(1) & 17-30a-402(1). Defendants’ do not address the statutes in their reply. Thus, Plaintiff has

a property interest in his employment by virtue of Utah law.

   III.    Plaintiff Does Not Establish any Substantive Due Process Violation

               a. Parties’ arguments

   Defendants argue that Plaintiff cannot show that their actions were arbitrary or shocking to

the conscience. (ECF No. 28 at 30–31.) Also, Defendants argue that the due process claims

should be dismissed as to McKea and Fairey in their individual capacities because they are not

policymaking officials. (Id. at 33–35.)



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   Plaintiff argues that his discipline was arbitrary and capricious because Merrell told Plaintiff

his discipline was imposed as retaliation for Plaintiff campaigning against Merrell during an

election. (ECF No. 29 at 17–20.) Plaintiff also contends Defendants misread the authority on

which their argument about policy-making officials relies and that even the authority they cite

suggests McKea is a policymaking official.

               b. Plaintiff does not point to any evidence of conduct that shocks the judicial
                  conscience

   The standard to establish a substantive due process violation is exacting:

       The ultimate standard for determining whether there has been a substantive due
       process violation is whether the challenged government action shocks the
       conscience of federal judges. Conduct that shocks the judicial conscience . . . is
       deliberate government action that is arbitrary and unrestrained by the established
       principles of private right and distributive justice. To show a defendant’s conduct
       is conscience shocking, a plaintiff must prove a government actor arbitrarily
       abused his authority or employ[ed] it as an instrument of oppression. The
       behavior complained of must be egregious and outrageous.

Hernandez v. Ridley, 734 F.3d 1254, 1261 (10th Cir. 2013) (citations and quotations omitted).

                       1. Plaintiff does not describe arbitrary conduct by McKea or Fairey

   First, there is no factual dispute about whether any defendant other than Merrell engaged in

arbitrary conduct. Merrell’s conduct cannot be imputed to any other individual Defendant.

Instead, Plaintiff “must establish that each defendant—whether by direct participation or by

virtue of a policy over which he possessed supervisory responsibility—caused a violation of [his]

clearly established constitutional rights, and that each defendant acted with the constitutionally

requisite state of mind.” Pahls v. Thomas, 718 F.3d 1210, 1228 (10th Cir. 2013). Taken as a

whole, the process here was not arbitrary or conscience shocking. Plaintiff offers no basis to

impute Merrell’s conduct to other Defendants.




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                       2.   Merrell’s conduct does not shock the conscience

   Next, while Merrell imposed discipline, at least in part, for an arbitrary reason; Plaintiff has

not offered any evidence of behavior that shocks the conscience. “Conduct that shocks the

judicial conscience . . . is deliberate government action that is ‘arbitrary’ and ‘unrestrained by the

established principles of private right and distributive justice.’” Seegmiller v. LaVerkin City, 528

F.3d 762, 767 (10th Cir. 2008). Plaintiff cites a number of cases that have colorful language but

none of them describe conduct that shocks the conscience. Plaintiff also made impassioned

statements during oral argument, but ultimately did not offer any analysis to show that the events

here meet the high standard of conduct shocking to the conscience. Plaintiff argues Merrell’s

alleged admission that he disciplined Plaintiff for political activity constitutes arbitrary decision

making. Taking Plaintiff’s declaration as true, the court agrees that Merrell disclosed a motive

for imposing discipline that fits the plain meaning of the word arbitrary. Notwithstanding the

court’s partial agreement, it is unable to find for Plaintiff for two reasons.

   First, Merrell’s statement does not make the discipline itself arbitrary. Even assuming

Merrell had improper and arbitrary motives, the discipline imposed came recommended from

others who were not biased and his decision was reviewed by several others who did not make

an arbitrary decision. Several individuals reviewed Plaintiff’s case. Commander Brown

recommended discipline similar to what Merrell imposed. Chief Deputy Laursen recommended

discipline identical to what Merrell imposed. Bryan Meier, the County Commission, and the

CSRB upheld Merrell’s discipline and rejected Plaintiff’s claim of bias. In other words, despite

Merrell’s purported bias, he only imposed discipline recommended by unbiased decision makers

and the discipline was subsequently upheld by other unbiased decision makers.




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   Second, case law indicates the standard for a substantive due process claim is higher than

arbitrary conduct or even intentional wrongdoing. See id.; Camuglia v. The City of Albuquerque,

448 F.3d 1214, 1222 (10th Cir. 2006) (“a plaintiff must do more than show that the government

actor intentionally or recklessly caused injury to the plaintiff by abusing or misusing government

power.”). “The plaintiff must demonstrate a degree of outrageousness and a magnitude of

potential or actual harm that is truly conscience shocking.” Id. “This is a ‘high level of

outrageousness.’” Id. (quoting Uhlrig v. Harder, 64 F.3d 567 (10th Cir. 1995)). The conduct

Plaintiff refers to may be arbitrary under the plain meaning of the word, but he offers no

argument or case law to suggest it meets the applicable legal standard of conduct that shocks the

judicial conscience. In fact, Plaintiff does not cite a single case in which a court found a

defendant acted in a manner that shocked the judicial conscience. 3 Merrell’s comment suggests

he derived some improper pleasure from the discipline or imposed it for an improper motive. Yet

Merrell’s action resulted in little harm to Plaintiff and certainly no harm shocking to the judicial

conscience. Thus, Merrell’s comment, combined with discipline recommended and upheld by

unbiased third parties, does not “demonstrate a degree of outrageousness and a magnitude of

potential or actual harm that is truly conscience shocking.” Id.

                               A. The court must believe Merrell’s declaration at this stage

   Defendants argue Plaintiff’s declaration is conclusory and should not be considered. (ECF

No. 36 at 20–21.) Defendants point out that Plaintiff never mentioned this alleged conversation

during his post-disciplinary appeals and has offered no detail of the alleged conversation with

Merrell. Merrell denies having this conversation. (See ECF No. 36, Ex. 2.) Unlike statements in

Plaintiff’s declaration mentioned earlier, the court finds no reason to reject Plaintiff’s claim that


   3
     This lack of authority further highlights Plaintiff’s failure to set forth a clearly-established
substantive due process claim.
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Merrell was biased. While Defendants identify a number of reasons a jury might not credit the

declaration, they have not shown the court may disregard it. Instead, the declaration is entitled to

the credit ordinarily afforded the non-movant’s evidence on summary judgment. See Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 255 (1986) (“The evidence of the non-movant is to be

believed, and all justifiable inferences are to be drawn in his favor.”). Plaintiff’s declaration is

consistent with his deposition testimony. (ECF No. 29, Ex. 2 at 63:3–13) (Plaintiff testified there

were political motives behind his discipline “because Sheriff Jeff Merrell told [Plaintiff] so

himself.”). There does not appear to be any unbiased evidence that refutes Plaintiff’s claim that

Merrell admitted he disciplined Plaintiff for political reasons. Instead, this is a classic jury issue

involving the credibility of witnesses with conflicting testimony.

                               B. Plaintiff cites inapplicable law

   Plaintiff cites several employment-retaliation cases for the proposition that the court may

infer retaliatory motive when “protected conduct [is] closely followed by adverse [employment]

action.” (ECF No. 29 at 18) (quoting Marx v. Schnuck Mkts., Inc., 76 F.3d 324 (10th Cir. 1996)).

Plaintiff does not explain why the court should apply the employment-retaliation standard to his

claim alleging violation of his right to substantive due process.

   Additionally, Plaintiff cites a First Amendment case from the Second Circuit (ECF No. 29 at

19), but, as mentioned earlier, the court may not apply a substantive due process analysis to a

claim that is governed by another constitutional provision:

       “[w]here a particular Amendment provides an explicit textual source of
       constitutional protection against a particular sort of government behavior, that
       Amendment, not the more generalized notion of substantive due process, must be
       the guide for analyzing these claims.”

Cty. of Sacramento v. Lewis, 523 U.S. 833, 842 (1998).




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                       3. The policymaker doctrine does not impact individual liability.

   Defendants appear to misapply the policymaker doctrine. Under that doctrine, a municipality

may only be held liable for an individual employee’s actions if the employee had final

policymaking authority. Starrett v. Wadley, 876 F.2d 808, 818 (10th Cir. 1989) (“if a county

official has been delegated the power to make final policy in an area of the county’s business,

then the official’s acts in that area are the acts of the county.”). It is thus unclear why Defendants

believe this doctrine can somehow absolve Fairey and McKea of individual liability. The court

concludes it does not. 4

   IV.      There was no Obvious Need to Train Fairey

                a. Parties’ arguments

   Defendants argue Plaintiff cannot meet the requisite standard to establish a failure to train

actionable under § 1983. Defendants argue that Plaintiff must establish the County acted with

“deliberate indifference” to succeed on his claim. (ECF No. 28 at 36.) Plaintiff argues that the

lack of written materials setting forth courthouse procedures establishes a willful lack of care on

the County’s part. (ECF No. 29 at 23.)

                b. Plaintiff offers no evidence that Defendants were deliberately indifferent
                   to any need to train Defendant Fairey

   Plaintiff has not offered any evidence that the need to train Deputy Fairey was obvious.

“Only where a municipality’s failure to train its employees in a relevant respect evidences a

‘deliberate indifference’ to the rights of its inhabitants can such a shortcoming be properly

thought of as a city ‘policy or custom’ that is actionable under § 1983. City of Canton, Ohio v.

Harris, 489 U.S. 378, 389 (1989). “[I]t may happen that in light of the duties assigned to specific

officers or employees the need for more or different training is so obvious, and the inadequacy so


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       At oral argument, Defendants conceded Merrell is a policy-making official. (ECF No. 39.)
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likely to result in the violation of constitutional rights, that the policymakers of the city can

reasonably be said to have been deliberately indifferent to the need.” Id. at 390. Here, Plaintiff

merely points to a lack of written procedures and concludes, without citation, that a reasonable

jury could find the County exhibited a willful lack of care. Plaintiff does not in any way describe

how the need for more or different training should have been obvious. Thus, Defendants should

be granted summary judgment on Plaintiff’s cause of action for failure to train.

   Additionally, Defendants point out the oddity of Plaintiff asserting that Uintah County’s

system failed to train deputies when Plaintiff admitted at the administrative level that it was his

ordinary practice to check the monitors for the holding cells before leaving for the night.

Defendants argue that this demonstrates the County had an adequate procedure to train its

deputies. The County trained Plaintiff who was expected to then pass the training on to his

subordinates. Plaintiff does not respond to this argument. These circumstances tend to suggest

the County had an adequate training program because the person in charge (Plaintiff) knew he

should check the monitors before leaving. In the absence of contrary evidence, the court agrees.

   V.      Plaintiff’s State-Constitution Claim Must be Dismissed for Failure to Comply
           with the Bond Requirement in Utah’s Governmental Immunity Act

               a. Parties’ arguments

   Defendants argue Plaintiff’s claims are precluded by Utah’s Governmental Immunity Act

(“UGIA”) because Plaintiff failed to submit his notice of claim within one year of the date on

which his claim arose. (ECF NO. 28 at 40–41.) Defendants contend Plaintiff’s claim arose on

September 3, 2013, the date on which he was demoted and placed on probation. Defendants also

argue that Plaintiff’s claim should be dismissed because he failed to file a bond. (Id. at 41–42.)

   Plaintiff argues that the date on which he filed his notice of claim, and any lack of bond, is

not relevant because UGIA does not apply to § 1983 claims. (ECF No. 29 at 25.) Alternatively,

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Plaintiff argues that his claim was not complete until McKea denied Plaintiff’s request for a

hearing before the CSRB on November 12, 2013. (Id. at 26.)

               b. Plaintiff’s state claims must be dismissed without prejudice for failure to
                  comply with UGIA

   A plaintiff bringing a § 1983 claim need not comply with state notice-of-claim requirements.

Felder v. Casey, 487 U.S. 131, 153 (1988). Defendants appear to acknowledge this much in their

reply brief. (See ECF No. 36 at 21.) Thus, regardless of the date on which this claim arose,

UGIA does not preclude plaintiff’s § 1983 claims.

   Nonetheless, to the extent Plaintiff’s third cause of action alleging due process violations

under Utah’s constitution attempts to set forth a state claim, it must be dismissed for failure to

file an undertaking required by Utah law. UGIA requires Plaintiff to file an undertaking (bond)

of at least $300 to guarantee taxable costs in the event Plaintiff fails to prosecute the action or

fails to obtain a judgment. See Utah Code Ann. § 63G-7-601 (2016). Utah law requires another

bond as a condition precedent to filing suit against a law enforcement officer. See Utah Code

Ann. § 78B-3-104. These bond requirements are strictly enforced, mandating dismissal where

the bond is not filed prior to the lawsuit. See Rippstein v. City of Provo, 929 F.2d 576, 578 (10th

Cir. 1991) (“the appropriate remedy for failure to make a timely filing of an undertaking under

section 63[G-7-601] is dismissal without prejudice.”); Craig v. Provo City, 389 P.3d 423, 424

(Utah 2016). Strict compliance with UGIA is required for all state claims, including claims

brought pursuant to the state constitution. See Patterson v. Am. Fork City, 67 P.3d 466, 472

(Utah 2003). Plaintiff does not argue against dismissing his state-constitution claim for failure to

file a bond as required by UGIA. Plaintiff conceded at oral argument that he did not file the

requisite bond. Thus, his third cause of action for due process violations under the Utah

constitution must be dismissed without prejudice.


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   Given the court’s decision regarding the bond requirement, the court does not reach the issue

of whether the notice of claim was filed timely. Also, based on the court’s dismissal of all

claims against all individual Defendants, the County must also be dismissed. Camuglia v. The

City of Albuquerque, 448 F.3d 1214, 1223 (10th Cir. 2006) (“A municipality may not be held

liable where there was no underlying constitutional violation by any of its officers.”).

   VI.     Punitive Damages

   Plaintiff’s claim for punitive damages hinges on the success of his claims above. See Mason

v. Texaco, Inc., 948 F.2d 1546, 1554 (10th Cir. 1991) (“A punitive damage claim is not an

independent cause of action or issue separate from the balance of a plaintiff’s case.”) The

evidence here does not support Plaintiff’s claims. Thus, he cannot recover punitive damages.

                                          CONCLUSION

   In sum, Defendants are entitled to summary judgment on all claims because he has not set

forth any clearly-established right. Alternatively, his claims should be dismissed because he has

not raised a genuine issue of material fact bearing on whether his alleged rights were violated

and because he did not file the requisite bond before filing his state claims.

   The court notes that its finding that Defendants did not deprive Plaintiff of due process

should be read narrowly under the unique facts of this case. This decision does not immunize use

of a biased decision maker. Instead, the court finds no procedural due process violation in this

case because Plaintiff was afforded sufficient process both before and after the decision made by

the purportedly-biased intermediate decision maker. It is important to the court’s decision here

that the discipline imposed was identical to what was recommended by an unbiased party before

it was imposed, and upheld on review by other unbiased parties. Further, the underlying facts of

the discipline were not at issue; only the severity of the discipline.



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    Similarly, the court finds no procedural due process violation despite Sherriff Merrell’s

purportedly-confessed arbitrary motive. The court does so because precedent requires more than

arbitrary motive of a single intermediary to impose liability for a substantive due process

violation. To recover under substantive due process, Plaintiff must show conduct that shocks the

judicial conscience. The conduct here does not rise to that level because, even assuming Merrell

was biased, he only imposed the discipline recommended by unbiased decision makers and as

later upheld by additional unbiased individuals. The outcome may well have been different if

Merrell had increased the discipline, or had heard Plaintiff’s final appeal.

    Finally, the court is sympathetic to Plaintiff’s concerns. The court understands that Plaintiff

believes his discipline was disproportionate to his conduct, particularly compared to other

deputies. It may be disproportionate. The court’s role is not to decide whether that is true.

“Federal courts do not sit to second guess state decisions on the merits of a discharge decision,

but only to ensure that employees are provided due process when the decision is made.” Pitts v.

Bd. of Educ. of U.S.D. 305, Salina, Kansas, 869 F.2d 555, 557 (10th Cir. 1989). Given a

reviewing court’s role, municipalities have latitude to discipline employees in ways that are not

entirely fair. They can certainly impose discipline with which the court does not agree. The court

may only intervene when the unfairness in the process rises to the level of a constitutional

violation. This case does not rise to that level.




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                                        ORDER

   For the reasons set forth above, the Court GRANTS Defendants’ summary judgment motion.

(ECF No. 28.)

   This case is closed.

   Dated this 1st day of May 2017.             By the Court:




                                               Dustin B. Pead
                                               United States Magistrate Judge




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